Case 2:22-cv-09094-GW-MAR Document 634-1 Filed 09/19/23 Page 1 of 2 Page ID
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 10
                                   UNITED STATES DISTRICT COURT
 11
                                  CENTRAL DISTRICT OF CALIFORNIA
 12
       MOOG INC.,
 13                                                CASE NO. 2:22-cv-09094-GW-MAR
                         Plaintiff,
 14
                              v                    [PROPOSED] ORDER GRANTING
 15                                                JOINT STIPULATION
       SKYRYSE, INC., ROBERT ALIN                  REGARDING BRIEFING
 16    PILKINGTON, MISOOK KIM, and                 SCHEDULES
 17    DOES NOS. 1-50,
                         Defendants.
 18
 19
       SKYRYSE, INC.,
 20
                         Counterclaimant,
 21
                              v
 22    MOOG INC.,
 23                      Counterclaim-Defendant.
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      CASE NO. 2:22-cv-09094-GW-MAR                                [PROPOSED] ORDER GRANTING
                                                                            JOINT STIPULATION
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Case 2:22-cv-09094-GW-MAR Document 634-1 Filed 09/19/23 Page 2 of 2 Page ID
                               #:19113

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               The Court, having reviewed the stipulation submitted concurrently herewith,
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       and good cause appearing therefore, hereby ORDERS THAT:
  3
           1. Skyryse’s deadline to file a motion challenging the adequacy of Moog’s
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               Amended TSID or a motion to lift the discovery stay will be extended by one
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               week, from September 21, 2023 to September 28, 2023. Upon the filing of
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               Skyryse’s motion, the other procedures and deadlines in the TSID Order shall
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               remain in effect.
  8
           2. Moog’s deadline to file a responsive pleading to Skyryse’s Counterclaims
  9
               (including any Motion to Dismiss) will be extended by one week, from
 10
               September 21, 2023 to September 28, 2023.
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 12
       IT IS SO ORDERED.
 13
 14     Dated: September _____, 2023                  By: ____________________________
 15                                                   The Honorable George H. Wu
                                                      United States District Judge
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      CASE NO. 2:22-cv-09094-GW-MAR                                     [PROPOSED] ORDER GRANTING
                                                  2                              JOINT STIPULATION


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